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1                       UNITED STATES DISTRICT COURT
2                      SOUTHERN DISTRICT OF NEW YORK
3       - - - - - - - - - - - - - - - - - - - - x
4       NIKE, INC.
5              Plaintiff
6       vs.                                   CA No. 1:22-CV-000983-VEC
7       STOCKX LLC
8              Defendant
9       - - - - - - - - - - - - - - - - - - - - x
10
11             VIDEO DEPOSITION of CATHERINE TUCKER, PhD
12                  Tuesday, July 11, 2023 - 12:13 p.m.
13                             DLA Piper LLP (US)
14                               33 Arch Street
15                         Boston, Massachusetts
16
17
18      Reporter:      Jill K. Ruggieri, RPR, RMR, FCRR, CRR
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                                                                        Page 2

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1                              MR. MILLER:          All right.          Let's
2       take a short break before we go on to our next
3       topic.
4                              THE VIDEOGRAPHER:             The time is
5       now 2:31, and we are off the record.
6                              (Recess.)
7                              THE VIDEOGRAPHER:             The time is
8       2:44, and we are on the record.
9       BY MR. MILLER:
10              Q     Okay.
11                             Dr. Tucker, can you go back to
12      your opening report, Exhibit No. 1, please?
13      And turn to paragraph No. 9.
14                             So I want to first focus on
15      paragraph 9a.          You start by saying:                  "StockX --
16      like other online resale marketplaces --
17      creates value by using digital technologies to
18      make it easier for buyers and sellers to
19      trade."
20                             What do you mean by StockX
21      creates value?
22              A     By creating value, what I mean is
23      that it is creating value by reducing the
24      search, information, and transaction costs,
25      which these buyers and sellers would otherwise

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1       experience.
2               Q     And what is your support for that
3       opinion?
4               A     So if we go to the -- the paragraph
5       where I introduce this opinion in the report,
6       you will see there that I have a -- I first of
7       all explain what coring is and how this
8       reduction in costs releases the value of
9       network effects.          And there, I cite some of the
10      academic literature on that point.
11                             And then when I discuss StockX
12      in particular, I relate back various policies
13      it has which reduce these different categories
14      of -- of -- of costs.
15              Q     I'm sorry, what various policies of
16      StockX's are you referring to?
17              A     Oh, so those are the policies that I
18      discuss in the subsequent section of
19      paragraph 9a, such as having a streamlined
20      page, the pricing mechanism, the payment
21      processing system.
22                             That's what I'm talking about in
23      terms of reducing search, information, and
24      transaction costs.
25              Q     Why are you referring to those items

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